C

ase 4:19-cv-00114-DPM Document 39 Filed 05/07/19 Page 1 of 11

  

casual!

. RN GaIRICT

t.. kit La cwnlbac/ Apatel C Cale ye Nias

of Layo Midgiilil rar AA». SAN ry ? 297
4. Leehtum Qiaiep — — yr — CO Gc

| Chethy 6 Oy CS ING Ce

  
 

 

 

 

 

 

Kut a Ls, Lit 12 JURORS

| taal Le pryere. Letopzttee Ql —

| La

   

MALAY far 2 CNet ee

 

 
Case 4:19-cv-00114-DPM Document 39 Filed 05/07/19 Page 2 of 11

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Case 4:19-cv-00114-DPM Document 39 Filed 05/07/19 Page 3 of 11

 

 

 

 

 

 

 

 
Case 4:19-cv-00114-DPM Document 39 Filed 05/07/19 Page 4 of 11

Lox he
DT Cucesl, File

 

 

~

Case: 4:18-cv-00751-DPM Document #: 5-0 Bate Filed: 12/03/2018 Page 17 of 18

3 . {JUVENILE INFORMATION Moditied 10G1/20In 10:33 AM

 

 

 

a \ NAREATIVE
fore ICERS ARRIVED AT.KEIGHTLY AND T ST. IN REFERENCE T9 A DISTURBANCE. COMMUNICATIONS ADVISED A
SUBJECT IS THREATENING yo KILL THRBUS DRIVER AND IT 1S UNKNOWN IF THE SUBJECT IS ARMED. OFFICERS
MADE CONTACT. WETH: BUS DRIVER, JOHNNIE WESLEY. WESLEY ADVISED, CHARLES ASKEW, STARTED TO DISROBE
ON THE BUS. WESEEY ADVISED ASKEW HE COULDNT TAKE OFF HIS CLOTHES AND THAT'S WHEN ASKEW CURSED
AND THREATENED. TO KILL HIM. WESLEY DIDNT PROVIDE ‘OFFICERS WITH ANY OTHEF: DETAILS. ASKEWADVISED .
HE IS"ANE SANS WAS CHANGING FROM A SHORT SLEEVE SHIRT TO A LONG SLEEVE FLANNEL. ASKEW ADVISED
HE NEVER. MADE ANY THREATS TO THE BUS DRIVER AND HE GETS SINGLED OUT EVERY TIME HE GETS ON.
OFFICERS: BATTED ASKEW S OUTER CLOT dING FOR WEAPONS AND LOCATED A BOTTLE OF PEPPER SPRAY.

ERS ADVISED ASKEW HE WOULD HAVE Te TAKE J.= NEXT BUS AND WOULD’ NGT SE ALL OWED. TO RIDE
BL S.DRMER. MVP. VAS IMNLUSE,

 

   
   

 
 

woos . ae tates oh os .
preimage pow’ Sahai eons Soto ae 7

 

ADB HOMICI SL CIRCUMSRSINERS I ace “fom sean I alncked a civilnin (a ) Crismunal resisted BITES
' Tye) Criminal atucked police officer, thu afficer k#led criminal Cid Dj Crimidal attempted Hight. rom a crime rye Unable to determine i
Ce) Criminal attacked police officer, srininal killed by othey oficer Che, Crimin) killed in commission of a crime . Rut cnough information | i
+ RELATED CASE NUMBER(S) '
CAR JACKING? []YES [No DRIVE-BY? lve ¥ NO GANG RELATED? [Yes f7]No

HATE/BIAS RELATIONSHIP: (4188) None (] YES, SEE BELOW
RACIAL (Anti-) RELICHOUS (Ant. ETHNICITY /NATIONAL ORIGIN (Anti-y SEXUAL (Ante) ,

Can White. (7 }f21) Jewish (1) 67 Hispaine (L_}i ts Mal- Henosesital (Gai )

a BME wee {_]¢22 Catholic Pins AMher Etinivity [hi-323 Femate iiomosexual (Lesbian)

(13) Atvsrican Indian? E13) Protestant 4443+ Hommseaual (Gay and Lesbian)

LJ Alaskan & tive [-}¢24) tslamic (Masliny) . LJ 44) Heteresexcal

(74) Asian frac fietslander *{_](25) Other Religion - [S50 Physical Disabitity Peasy ttisesual

(JCS) Muti-Racial Greup [_}(26) Multi-Retigious Graup [just Mental Disabitiv
Clen Atheist: AmnOste

 

 

 

DISAHILITY (Anti) “

 

 
Case 4:19-cv-00114-DPM Document 39 Filed 05/07/19 Page 5 of 11

o7u Lu bote hom att -tlled

SLO oF Co
Liiprlide® O° O° OH

SL Atlin, hitved
6 Ye tag Cllut jy Carty ae.
Wie. MAY MAY - TOA 204, 7/ Tha

day |
hothin,
7

SACLE ee
4

 
Case 4:19-cv-QeETE TEM 4 Popument f° Filed 05/07/19 Page 6 of 11

Ot tua Ln Lefenlacy 4 YU pews

©: fe Latiyly thay (Layiis
Hb 17 Z,rahag ah, De tis Ce, tt
TAM Des Lepilirtl NLL kA nel d:

Case: 4:18-cv-00751-DPM Document #:5-9 Date Filed: 12/03/2018 Pagei7of18 ~*~

: 7 —~ - 1
5 , [JUVENILE INFORMATION Mouiitied 1051/2010 10:33 AM |

 

 

   

 

Lge Be

[EZ en NARRATIVE |
OFFICERS ARRIVED ATKEIGHTLY AND T ST. IN REFERENCE 19 A DISTURBANCE. COMMUNICATIONS ADVISED A
“SUBJECT Is THREATENING TO KILL THR BUS DRIVER AND IT 1S UNKNOWN IF THE SUBJECT IS ARMED. OFFICERS
MADE CONTACT. WITH: Bus DRIVER, JOHNNIE WESLEY. WESLEY ADVISED, CHARLES ASKEW, STARTED TO DISROBE
ON THE BUS. WESEEY ADVISED ASKEW HE COULDNT TAKE OFF HIS CLOTHES AND TriAT S WHEN ASKEW CURSED
AND THREATENED. T© KILL HIM. WESLEY DIDNT PROVIDE OFFICERS WITH ANY OTHEF: DETAILS. ASKEWADVISED .
HE IS"ANEMIS AND WAS CHANGING FROM A SHORT SLEEVE SHIRT TO A LONG SLEEVE FLANNEL. ASKEW ADVISED
HE NEVER MADE ANY THREATS TO THE BUS DRIVER ANS HE GETS SINGLED OUT EVERY TIME HE GETS ON,
OFFICERS: BATTED ASKEWS OUTER CLOT 4ING FOR WE/PONS AND LOCATED A BOTTLE OF PEPPER SPRAY.
OFFICERS ADVISED ASKEW HE WOULD HAVE T@ TAIKE T+. NEXT BUS AN2) WOULD NGT BE ¢ ALLOWED. TO RIGE
WYFEL TES. BUS.DRM AGR. MIMP. WAS IN-LUSE, , —

 

 

LAD! Bi) Neh HOMIE Me CIcUMs: RANGES se “le. “rami luttucked a eevelan (tu?) Criminal resisted arrest
TES Criminal attacked police officer, that aficer killed crinsinal [Ji Crimidal attempted High from a crime O° Unable to determine /

Cie) Criminal attacked police officer, ccininal killed by othe; officer Che Crimire) killed in commission of a crime . hetcnough information

 

acasem 5g aE ce

     

 

| RELATED CASE NUMBER(S) , . _

 

 

 

CAR JACKING [YES [VJNO | DRIVE-BY? T]ves (7}NO GANG RELATED? [JYES (Jno
HATE/BIAS RELATIONSHIP: —£7](88) None (YES, SEE BELOW

RACIAL (Anti-} RELIGIOUS (Ant-* ETHISICTEY PNATIONAT. ORIGIN (Anti-) SENUAL (Ante) |

C11) White a ; [7 }f23) Jewish / [citi Hispane Licts Mal+ Hernosenutat (Gey)

Lr ]a2yBer °° ; {}(22) Catholic PoJevee ther tatimicity PF lb-t2) Beinale iiomosexual (Lesbian)

p13) An-sricon Indian J . ‘LJ(23) Protestant ei yrs cana. LA. [4243+ Homosenual (Gay and Lesbian)

tS alsskan &: dve }(24) Istamic (Muslim) DISABAATY (Anti-) ° : L_}f44) Heteraspxual

(Jaa Asian ¢facielslander ‘L_](25) Other Religion ‘ L_)isi Physical Disability OC yas Hisexuat

(Jas Muhi-Rscial Grup (26) Multi-Religious Group [_jt52) Mental Disabitiny

 

 

s

Clen Atheist! Apnostic

. oa . a - semanas wey
      

Case 4:19-cv-00114-DPM Document.39-Ft

07/19*.Page 7 of 11

oy holy oy
fink Tuy

Ue) F.

ypee 47"
Case 4:19-cv-00114-DPM Document 39 Filed 05/07/19 Page 8 of 11

 

Rock Region METRO

301 Maple Street
a ‘4 North Little Rock, AR 72114

>

FA

UNITED WE STAND

toy

Be eae ae ea Oe re Tees

aa
ma
hij

 

   

 

 

a ayn "g
gt a
|

,

: ok

”

co

Le

 

 

Fae alfa b pelle dp Up app!
Case 4:19-cv-00114-DPM Document 39 Filed 05/07/19 Page 9 of 11

keV A (10 DD

Mr. Askew, 71 Kepins, i ped Posyhseed
Please find enclosed $4.27 in cash. This ott, your dayfass Kee? ¢

plus pOstage.
Day Pass 3.75 Wy Wey Coy CAM77
Postage 0.52
Total 4.27
Thank you,
Justin Avery

Assistant Director of Finance

(Cunted ° Jun

Vecitiel > pg (iul-2 c
 

Case 4:19-cv-00114-DPM Document 39 Filed 05/07/19 Page 10 of 11

oS Dlaimby Cam Cpye 7
WY Rock Region .
a%4 METRO

   

ite nea | Maumelle { North Litde Rock | Pulaski County | Sherwood

Catact ord, anil aold
, Charles Askew ker ph MD Aiguide iVU7

3409 Avery Road

Little Rock, AR 72209 CRL4, Like ante

Dear Mr. Askew:

April 8, 2019

_ This letter is to advise you that you are to be suspended immediately from all services offered

fe Z77by Rock Region Metropolitan Transit Authority (“METRO”) for the duration of the enclosed No

ZL q Contact Order No. 19-267. You were arrested on March 4, 2019 at the METRO Travel Center
r Disorderly Conduct, Misdemeanor Criminal Trespass, and Second Degree Terroristic

Threatening ——

Little Rock District Court Judge Melanie Martin, in Case No. LRCR 19-1058, imposed No \
“Contact Order No. 19-267, on you, Mr. Charles Askew, on March 4, 2019. Pursuant to the No
Contact Order, you are prohibited from contact, by any means, with Mr. Floyd Bibbs,
employee of METRO, and barred from entry onto the METRO Travel Center, located at 310
East Capitol Avenue, Little Rock, Arkansas 72202.

 

Your suspension from use of METRO services will be lifted concurrent with the expiration of
the No Contact Order on March 4, 2020, or issuance of a Court order terminating No Contact
Order No. 19-267. Please be advised that if you enter any METRO facilities or board any
services during the pendency of the No Contact Order, METRO will contact law enforcement
and you will be subject to immediate arrest and detention for violation of the No Contact
Order.

(Thank you for your cooperation inthis matt
() Remote what jfliiitlf
Donna Bowers He Aihpwuntio Miler £4

Director of Operations Aattiing SPL ALi? anata

 
Case 4:19-cv-00114-DPM Document 39 Filed 05/07/19 Page 11o0f11

IN THE DISTRICT COURT OF LITTLE ROCK, ARKANSAS. .

STATE OF ARKANSAS . nae

 

VS. case RC [~(4- - (JG 2: hl 738
neor_! 207, h, Al
Cyiawlts Acker oo  SERENDANT
NO CONTACT ORDER

The Defendant is hereby erdered to have no contact, either directly or indirectly, whether in person, by
telephone, computer, mail, or any other means, with the following person(s) or his/her immediate family:

Ginette AO TL “Ete pe)

 

 

 

 

Victim’s Name Date of Birth , Race/Sex
Floyd (OMe Till IM
Victim’SN Date of Birth Race/Sex
Victim’s Name Date of Birth Race/Sex
Victim’s Name Date of Birth Race/Sex

The Defendant is prohibited from possessing and/or purchasing a firearm or other weapon,

The Defendant is ordered to remain at least Gy ev —s from the Victim(s) at all times, even if the

Victim(s) seems to allow or request contact. Ko oe

The defendant _/ S Bae CE AL Cf Blo ©. C, Co. p! da | - eon AYO,
Hive

Any violation of this order subjects the Defendant to immediate arrest and detention. Any law enforcement

officer having reasonable cause to believe that this order has been violated is ordered to immediately arrest CY Liste C

the Defendant. This order is in addition to, and consistent with, orders issued pursuant to. Rule 9.3 of the

Arkansas Rules of Criminal Procedure, Ark. Code Ann. 5-71-229, 16/85-714 and Ark, Cade Ann. 9-15-

201, et seq.

 

 

 

 

 

This order will expire Pf U [ 740 issued unless extended or modified by Court order.
It 1S SO ORDERED. Plan “a Vitti
Served by Officer: be . Y Gt.
District Court Judge
Date:_3° 7 20_19 6fS
B-Y-/F
Defendant’s Signature Date

orks, Ec sin Ndeaw 449-15 1 TAD

C Entry Information: CSN#

OARS WHO ssw 298A 005134 |! 42019
Race BRB se DA te weigh) OS. Birth Place WAR 0

Driver’s License # ( A State, Defendant Address: (ecg

 

 

 
